                                 1:18-cv-01027-JES # 1               Page 1 of 34
                                                                                                                        E-FILED
                                                                                  Thursday, 25 January, 2018 03:52:18 PM
                                                                                            Clerk, U.S. District Court, ILCD
                             ~niteb i>tatts 1Btstritt otourt
                                      CENTRAL DISTRICT OF" ILLINOIS




                             Plaintiff

                   vs.                                                        Case No. _ _ _ __
                                                                 ( The case   number will be assigned by the clerk)




                             Defendant(s)

(List the fall name of AU plaintiffs and defendants in the caption above. Ifyou need more room, attach a
separate caption page in the above format).

                                                   COMPLAINT.
Indicate below the federal legal basis for your complaint, if'/aiown. This form is designed primarily for prose
prisoners challenging the constitutionality oftheir conditions of conjinemenl, claims which are often brought
under-42 U.S,C. §.J983-(against...state,--county,.or--munic:ipal defendants)-or in a!'Bivens'! aation (againstfedera/...... ··
defendants). However, 42 U.S. C. § 1983 and "Bivens" do not cover all prisoners' claims. Many prisoners'
legal claims arise from other federal laws. Your particular claim may be based on different or additional
sources offederal law. You may adapt this form lo your claim or draft your own complaint.

r£   42 U.S.C. § 1983 (state, county or municipal defendants)

Cl   Action under Bivens v. Six Un'/aiown Federal Narcotics Agents, 403 U.S. 388 (197l)(federal defendants)

Cl   Other federal law:


Cl   Unknown
                -----------------------------
                                          I. FEDERAL JUR1SDICTION


       *Please refer to the instructions when filling out this co,nplainL Prisoners are not required to
       use this form or to answer all the questions on this form in order to file a complaint. 'This is not
       the form to file a habeas corpus petition.
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other federal law. (You may assert a dijferentjurisdictional basis, ifappropriate).

                                                 II. PARTIES

A. Plaintiff:

          Full Name: _ __,;:J-...;;;;;.
                                   ~ ~--'
                                        11Mf-;..;....;...:H:o-'---'-'::;..;srfu:---_
                                                                                  S_ _ _ _ _ _ __
          Prison Identification Number. _ ....}<_5_
                                                  L-/_{;_1_0__________
          Current address:   ~tlJJ?f.@d/tJ011 tir,kr!..                  f!tAbt 'f,1
           ftri(nc -:lir;ri~LJ                                       .
For additional plaintiffs, provide the information in the same format as above on a separate page. If there is
more than one plaintiff, each plaintiffmust sign the Complaint, and each plaintiff is responsible for paying his
or her own complete, separate filing fee.

B. Defendants

   Defendant # 1:

           Full Name:

           Current Job Title:

           Current Work Addresspodtlo..L.- ~ o v v t t U,()}e,11_ f1 O, bo)( 'i 7
           pon-h(4C-:. ~-(t: rlo1\- Ce IfJ. ff/{              ·
    Defendant #2:

           Full Name:        m·J     .A-e.)lSon
           Current Job Title:     l/JJ;lL.bHOMJ QPP-l'ca.R.
           CurrentWorkAddress      ~~hQ:011 lt(JfctL
            f½'r~l1V/ fPOtMt ;fl fol1~l/
    Defendant # 3:

           Full Name:           Mg, 2)m~
           Current Job Title:   -~H. WfflktD~
                                     . ...........aa.....:""'"....·:4 _ _ _ _ _ _ _ _ _ _ _ __
                                                         2
                                 1:18-cv-01027-JES # 1              Page 3 of 34



           Current Work Address     PQ:r)4-} OvL ~                offorvr1 ~
                filh    b:CJi qq f&J1itu.-            :z; J   Ci )l (e11
  Defendant #4:

           Full Name:           tO Q• yY),O(l(. \J\i").(J
           Current Job Title:        ~~ ~
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           Cur(!)d)1bogqq
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   Defendant #5:

           Full Name:

           Current Job Title:

           Current Work Address      (Joryl:fCtC. Cl}~(J..e.e,Hmvr, fUnkJ...
             (10bo~qq            ~ J;I {p 1l~l{
For additional defendants, provide the information in the same format as above on a separate page.


                                          III. LITIGATION HISTORY

          The,."three. strikes n,le" bars a prisoner from.bringing.a civil action-or'. appeal in forma pauperis in ,
federal court ifthat prisoner has "on 3 or more occasions, while incarcerated or detained in any facility, brought
an action or appeal in a court qf the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails lo state a claim upon which relief may be granted, unless the prisoner is under imminent
dangerofserious physica/injury. 11 28 U.S.C. § J915(g).

A. Have you brought any other lawsuits in state or federal court dealing with the same facts involved

in this case?             Yes CJ               No     rif
If yes, please describe _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



B. Have you brought any other lawsuits in federal court while incarcerated?

Yes   rl             No CJ

                                                Gl3
C. If your answer to B is yes, how many?       J.3.         Describe 1he lawsui1(s) below.

                                                              3
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                                                   1:18-cv-01027-JES # 1                    Page 6 of 34




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                2. Basic claim made _ _____.fll.__../f..._1-'-iv;...=JZL-~_,_fp

               3. Disposition (That is, how did the case end? Was the case dismissed? Was it appealed? Is it still

            pending?)                                       i1i.L ~~HJ. t)vf,-
            For additional cases, provide the above information in the same format on a separate page.



                                          IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

                      Prisoners must exhaust available administrative remedies beforefiling an action in federal court about
            prison conditions. 42 U.S.C. § 1997e(a). You are not required to allege or prove exhaustion of administrative
            remedies in the complaint. However, your case must be dismissed if the defendants show that you have not
            exhausted your administrative remedies, or iflack ofexhaustion is clearfrom the complaint and its attachments.
            You may attach copies ofmaterials relating to exhaustion, such as grievances, appeals, and official responses.
            These materials are not required to file a complaint, but they may assist the/'oitrt in understanding your claim.

            A. ls there a grievance procedure available at your institution? Yes                      J      No CJ

            8. Have you filed a grievance concerning the facts relating to this complaint?

                         Yes      ~     No CJ

           - If your answer is no, expl~in why no~ due cfo th.c.~,i:tQ:fs ~n H,{ Sf.t\:g fd~; ..tfrJ;;;;#o,n u/-11, J/117 &. ~ 1.!l~vi,1nu-
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              C. ls the grievance process completed? Yes CJ No rf $°e~ (effl r1~5 +o ~/-tiTl1 7 ~~"'J'V·A'lf kti-cf
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                                                             V. STATEMENT OF CLAIM

             Place(s) of the occurrence         f>OB{ll f ~ W4t't
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  State here briefly the FA CT'S that support your case. Describe what each defendant did to violate your federal
  rights. You do not need lo give any legal arguments or cite cases or statutes. Number each claim in a separate
  paragraph. Unrelated claims should be raised in a separate civil action.

   THE COURT URGES YOU TO USE ONLY THE SPACE PROVIDED. Federal Rule of Civil Procedure 8(a)
   requires only a "short and plain statement" ofyour claim showing that you are entitled to relief. It is bes/ to
   include only Jhe basic, relevant facts, including dates, places, and names.


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& t/W fh'41:ka .ft, KJ11 +fwl- U'e,vkfVtfl/. M ~ 1/e fN't WWflov at~oguJ/l fWM
                                                         1



.f2oR. tb1:4: M We,,f,1 Lv1€. ~ fhpt.e tn,tMi,, sJ=*8-ot t'J &A-p~ I Mi 1 if\UtUl'l~ r..qgt-k ao4'
cpj~.)?1 lM:9' f-t;f91,h tfitt.: WM w@t(-eil p1fM4 J.I eJ&M:0/:$ wt~ Wt- SM4<;.v/tle « lfe.wm,f
 fflfl_.2-}mmtMD $:f-#AO(PVTVlAaR-~;;«}ov;fbtlµk<ioheR MA b;J-J~gkJCJ~

  U ~ LJlvn- 7un1 t:is LJCII 7.P.ee,J-Pmef1:t:l- lJ t.ud-4»a1:~W~ ~~
~../¼:Md $N kfr:J ~npAA> Ul/)JM ka PA!fkl< > [ o f ¼ ~ ~ wh1 We.
alr4-gaon4 S-eruJ /HIY toj-?f- tylµlkA1 ~ 7wf..$0 ptw donf-J"+ @(Pf~
(;1:kupuw$) P"1I'n t~u~ /)"(J.$-h'4- ~{)lJ £ye.~)s e~~ tnbRilMld ~ !fcv fjCOM d,,ff r,.,/'fh
~lJvrt. ~~s c,,nd ~ h'ltt~-Pvclcee.on S·,H-n d~ -Hu.. ffl<Jr?.n':J /n tfu IJoe/1,eeJl hM-<-
 CjoJ)::TAdl';{Jf) fA:nY-,ftHY)~{'el] (N50'7) ~w t&rl-k hMf W bls koy 6PficeR-A+I-IJ fh+l-h¢~)
 jA-Ve tv\.2, wW Ju htMg) lvr,.aj-gJ htrn #J ew.k, ~ ~Unm.td rn11 h,tp.J h, lfu.tliLltlehoJq
 ~JO J)rl~on ~ ~ bfs hot Mft@A#!J ktJ a th4d&n 4:f-l½lru of£/UL ht CAfflJ)
 UNld hA:ye, fW-cokJ bk(11f<k-)(r(1)fi!.ro kfrJ dkl,'pl)w hyAfv ptrorf4l.p,le,o~c) and
 :Z:,;J),01(,. ~ n \ l e ~ ~ U(l}} peek?J ff 1. r ~ C/Q ;Jii?KsQQ CP04v<J-Qll~k@mte5 myJejj

                                               6
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$1l4-flc, IMJ[JQ11 M,,t,t/fYIRIII- /,eMV~ i,y: b(),,,(,WI~ ti WMi ~~ olP/tlll. h,, ~
WM+ lvl'clu>ce, ngrzd«} ~ k@tgjeJ CA,YI        uh:i              enk wvld /w-rt ~ 4j,tl\1ls Sk.tfs
tW ff-l{&&&s ~ Dl ~ Qi,#ra/es M$4-J?'f/ot>. l/01>. :;r.Aek@~ f/vt4:
1~ ~ o#fuR.J 01><ro &M:H3 -Jt>1d htm tM>d buo Mt1 bJrn al-.m&& IawwNs
 {Mt]; M-d +Jtd 4j11a¾ fb:ra CAfHJ &.D1£otl) wnd hlw\ (J:AvKw] 9'f«mrYlln my l&f-
 h,tn.J /" :ik P),u,;0,,,1e- 0 dff f/J/;g, 1,ue>1 dve ft, 11vrf ,u,,,i ~ M{frl!>f:IJlf,.y,':J.es.SQOs
 }kn, l,vu/)f: Lvln no $0:k atJ,rin-k me h-¼w~ ~ drt bA:ve. ro pw1-aP-fb.e. lr>;1uelg
 ;rM:Yx;d Vw on yo~ ktw~ wb1 we h<frl&MlrJ rw ~~~:h?J!A=
 54l.t·dv;~ (sv·tt/1!~0 t}Ol 4of<>tbtll $64bf:t0RJJ00 :f-u.14mm1: trn9.cnTYr:•1vt~};vu yov
 Jwr-.t-~.d-lli; ~ , u a.otlbW~,. -W.,eQlll, ot.-&J/- ~ k A-, o«,ln &id. :I-t.van/-
~~v>'I~, +o '}I'+~ fvrK ~ /4 {q~t,_n 5- ~ cl""~ ~ In 11,,,     q.,,        f&
nog_fb e,e11 WX- 40 ']),J:.~}q,c:,n c..tzn& # MY ut I /rv5o7) IM1a #ak4 stb11:: &hlt/l.fuy~~
k-c.lly 'DAV:,J~ ~th? fu4:egMj ~*li4&Jo4eU,f10½~· ~n~l!!JuiGe.vn1t-c&fZcµ.s p~el(te,
 }kglRJ ('.,k_' c,.P.P.ky.s (:)1.0r1 ~ :P-ePP1 & ln4aLM1 ~~ 1Jr1[f: tDJtl hi-m (;r~)
& '"k 1-vtJ ~ ~ \4)g. to :f:1:vfa. tMJ+s (fnffilMI ~ &.. ~, 1!gv,(.(, units) tel!h-1
+hero :/1vtl: Qff-tUJZ l>•;f/2:C~ W bun # ~-:hi l-lkv~ ,ng.. Jn tU1 .t¢.pg o£-.i.•.uws
 0/D'l).::J,Ad4c,n ~ / fkN~e.          'fwdkJ.nt:ge+:Mf f*kdJ()(l:&f;roflwr f.m ql@MJ-
e\ olvmml ~ o-f¥-1 c~ 61 Sofl ±Pld 00& ( TA-d<Soo) th:# tflN h4y-e A U4.wM I- aflt(h+s him fpi..

~lvtl.e 1P (X'#kd: Niel ±1:vz, oP:£-Jr-e:&ss L91e.i p1nA-Af)d JlwkM:@/lOWib~ whv att<MeJ
M:1-~K. W fvcMA vp lot1-£e<Wi~ rYLL to #v)-wna-b WL un IH,vb,ut. Mfl 1n ;rvll'!½
wM @CMrUVltW he.(:rA:?UarJ)ac1oi-=dwi eni:1vi9hted-o-Hwt:~ ht..W g,tgmu m'I
 k# h+oJ f'h ti½ clive-k.~ 1,</heµ, M1 bJ<1:i1t.J~ (!Md IYW? Md w/Nld M-\k lu4l r.i-Otv~
~      ~gtm     ~~W:WVW ~ hJm, dvd'j tt ::r.J?,o,c:.(fl1,\'lols 7&(ktMrru.otCJ{l~s)
l(\:IMM:t~f..61 ~ h:wu-B~bf) ~ Of?: fh CIJVf.f tM#u,uJh{ev£/1tbou~h) tvvk¢rwt
 & \ , ~ lA1f~@w AfflJ j(i}el VJffi'.l he, (M4fy) b,tJ tf¥< ~ tts a ~ ~M/;

01-P-l w. h> fJ1-f»<A4: Nro (J'A<,~)-1-wn ~ dlstJpt inµJ dve fo J-J, (J~) llJr'u).utk
~11Ls4 /IU ($1Jtt.1m9 mt I-eh- Mn,n" ei,"~ ho1~{.lf.) 0t1 s- JQ· n JvP1ry& ll'l/Jt<I)".) In

                                                •
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  teH fb32hve ,ra:@ f'AAiZJW J3fitbofl@eic. inZilt#ivn~.                       I)s'h-OweJ &Ji rnv
 l n:rvtlq{ I:?£+ hM4C fn -;rvrzJ e&),.,, ~ , /'~~w f1111:l:S'lu_ Iwvitd.eJ MµOw CMe./•
 ~ $1:-e,~ CJvtwvd aga112,;<rv~w mvrb+iuc¥A %w kMw Vwda1-~
 00 au-l'SfN]ce -kt,m, Us ( hW I CA"l 9ki-f-fJ5) W-eYle f-euhJy aM 't(Mtg}c/K.fA118UfS ai«,


 ~;;r:=~=.:i!::1;£te:f~~4~
   ~             v11          n4-   CA,U,._,..   M          uraJ./-   {..t),                e..   OtlM-       Ae
                                                                                 il-e~                    ~   ,~
 a                                                                             .~i.sll+-r   IYWICA1 ~#:r
  Lvb{> :r: ( KT< l1«vl ~) v.ro~~ wl-H, f h¥s-ld c.n ~ S4an1--();T.e-lA-6lc I IYlL.il/vrf '/)N.µk;tt.
  A-.t/Jdvi anJ -Rot Mg(?e Of/,gg ~ w~ n<fl-yorrv.t k & ~ D-P-Wn'I tlW
 ~ptwP:CJP..lh:;r~eid1trt~~M ti fe011--oP-a#-lc~1>,;r~11 ~
 yw H,.,tt-WO\AJ ?f:hlm In +tovhk Ly -the..~ q,ffa/11, unf~ due:fp b{s eJJtuivPHrrwws
 yw . S O ~ l,k..w//1 ho/: k ~-t/i.e-~+1,,,,~ D£--YpJA<. Je&J.,,wJ, SMll>y
 $Af: $lr#rl, aJ,'ff In 'f<r,d- lrte,;/.k,r, ~ wei,t M dohz) M!J fnlliltnl-Cefo*                      lm-e/
 011 fk n.Mvlc!~Of!-yPv( lo;rveJ~ ooJ &&1 C/<M l-d4-h,wti Wu& ~cTvrte6' ;rvs+So o#lc-d..
 ~ a,, i,Jf,u Id11 J..god:tge,J •dv«,IJ;;t/v.. 3fc;l1 ~ h/1u. O<ild-1,tel'.llwus,. {11/Crli)
  ,$bo,t-H_t~ 5:.0opm /:-e~ (2. L,2tmJitbu-m.g.JpmfiUH{N50l)~:Z:
 $lt,pql h}m O(lt,e :r lr,ll,r,1-NlcJ mrJ:f01?11:roL to h1yn ttM hlm tfvtttjol)~-:r~~
 h'.l¥ I.eh- MfVd f'n +he. M>vckhoJe cltof e..J OU t'Yl.ulvl1 CAU h-e. ( L,~Nh) fmr11yU C J ~ l i ~
 ~/1-;S we.JCrww M1 et,boiA--ff..t0: NlJ LJh~ lu ~ ~ JvtoJ In & !Jwd,Clwk rm Mr




  ~=~~=~:ltZ:t:=~f
  W£JVld ~ 4d ./rJ dDCM'!¼lt WM-, rn ;r~a ~ ~ f/!N#lW:. ~ 1a1,h ~
  t><&> f/&vR f'r-,:;rvr11ep tJlWP.eJ TlM- ID myOffie,.u J>i7Adc&cn CW h<J1--ffe'd: fn+ict)bi-G
  tvegwt2j ti9Y ~V!AJ titw»t.:f-ot~Qlh Jc111 :tMt~n~ I f ~
  SU@- We, lvtw: ~ ~ Pe.fJo/# -Pwro J1v11: f'nt.tdtol: khcf¼ t!PY $4q,y l'n po1n
tt~(.@)on 5}31/n d~f'/x~ fu ./Ju.nggJJ,w1how,fNvlf)4/bu.t,1 wM hWwA
                                                     f
                                                     •
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  ff:zj;e;Jwt ffeMJJ@pic.. P@Pdf.Rbh 5 A2 M2l lliifu/4Yak1y $%4¢              ·fu IP& {ltlffek.!)
 Jum-.J.f!H ln.e. ~ ttkt,ytJ-b& pa/risJ MutJJoa$, tuui. sw-e.Htqjs 1h !i£Vl k!f:lvtn) q,,y(
 fW-lfrwa Z41r.wl:lffl4 VCV ftbvv1/n4--fJ!dti?!) na ~eA1~c4:£!> #qp~
 £.t'CK.qt,1 a:HYHsf:o ~ h.t.+1..J-h ~ vtil+. h;A-;rog £.fR-U>41ce t!Mne. (}('l ..f!JV1ejd11d.J/
  ~ :z WM hovsed M S1epgJ t[&t:1 t-eSI tb#::WM ¢tgh1--nab/o w U/n 8""ry
 ®k.MWfhe:e&ie>/1&~1/M- g/u. StJ-aJeri ;¾M#/1:W{Hqaj,sj~e,e WJw:}¼- ~ K
 'f/gy See l}()W W~ MtJi t()fJ o#Jc..u ~ .J-v Rl-+m fJwrt. b1:Q¢ In (ievt lhvrAllwle W<-
 hapea h£. ~ !£Ova Mod lei-~ ~g,pflgl~orffc~~~r&fo<k,11 tp.,v
 .fo pvt& In vPvi< n«:1-: lM@d1: UYK l&Je dor~9rve. 4!l -Pvck l«1(f1ZU>Hce)gwi+
 CAA- M t ~ kllow      Lv½#l ftW Mv:e. :/-o fxJYYtL Dl/1: Of=l'/:lM t-e,tt-Po-f.. ~ -:k{lrl(JTfJf~
 ~uy  7-fbw alf#,#1-a tU1 MflUJJ/wv~ $4MfJitJJ4¢0uand!JM-f/DV e>Ml!4~
 JkN /J,ML 0\/f;b# ~ e~J l ./o k]Ck. /µvrt.t:Mo OlA- CH-fk vlGLiJ &(1- Jv,t~JIU(l~ ~
 M(rv3a1=f+-etm11!J !PJ1fu ane1 ~ yPY ~ k d kxtWJ1W-o:fl.P!c~ Yv*knbw ;i;
 ( ~ler) S-ell4-- ~hJ.J.., ~ g,ffajM vnl.J-Q£flc.a A-t4i_J OIM t!l--bwW us ~(J\)
  W ~ ~ kl~ fp& fh1#M1 ~ tklnkWjoiuv»½: ½Hlh:tb,wi gpp11r
  a#tw:;r~ xlM)m~ ,'(:(Ni MI\J In~ l¼\rok~/~ n~s ;J'Adg.,MMc) r/rJ}d hi(_,
. .{ f¾,Mk~} +b:tt:t{4v Mel ~ Cun#Ar,11y ~ ,stol¼rJ I 8i)rx..J orJk -ffll?J Jo~~
   hte,l/or11W1-tltu>4- br) V@f ~ We ~th@S}cll(/t'll ~® WM dkfioXei
   10./dqqmu vn#-of:Hca.s HeaalcK, p/eRee.,6hlef!.fYW'%119-At#: k!-Hy~ MJ ln4aMJ
 ~tits o£P:{'c.ea, Attl5&-ot~ +a16' vs ti:rt:1::f':Oa-l:tP    e..,/o1F:T/rc¼ro $ l~!:J 'ft.Ml
 IM3::Wef t'-n :,kvt C1!Ud<lwte )lvv SK-Ot:liem Ybtm<#Ns DP: k:Jley .J-eillb ~ ±bft c/0 d ° ~
 MJ2i ~ ±bt++ko~-to h1tm lf<N Md ~u-kltf.edfo? lkM; Ssak11.. !/9V q,J~ ~
  Ol$QY] ( /h!k£?M1 Afli½l(?S Off{~ f'vi yPvt.- k/-k;. w#1-, ~dlfwz. jeJI~ fv /!Ufk?I: /AJ,..;wlJ-
  i£: kd)o\Q} ():Wad: }Lw hy ~ j ttw CfK14( o&lc-tP- cT.A£k.$(7(} ~ we lavghw
 Af: t/Qvtt k.fkJ W e . ~ ~ u«.JM-k @rtfu'½ U$ Seaov,5 W-e:. ~ 11 M-v-e. Dvl;Jpix,
 t'M-;."Tvg fupaeMta l'.Ytd $44d &hu. an-ti I ~ o,,f.Pr,J,s I..IM.J-O#tC-eL A#iJ l(N(.W
 WbM:~vtdtQ~ coutd Pun vw a,A-!Wrs 9k!M :Hvrl:WM a PW t» ~ ~ DP-Wri'/
                                                        •
 ~ <MalM: Md l(,v~ W-hSe.od in.t..J-o fubM-i±bCA1L?:Llrl-l.J-.fo~J.e,N-bood
                                                q
                                                •
